Case 3:18-cv-00643-JPG Document 46 Filed 11/06/20 Page 1 of 1 Page ID #1065




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


 KENYA YVONNIA COLLINS,
 Plaintiff,

 v.                                                               Case No. 18–CV–00643–JPG

 COMMISSIONER OF SOCIAL SECURITY,
 Defendant.

                                       JUDGMENT

      This matter having come before the Court, and the Court having rendered a decision,

      IT IS HEREBY ORDERED AND ADJUDGED that the Commissioner of Social

Security’s benefits decision is AFFIRMED.



Dated: Friday, November 6, 2020                  MARGARET M. ROBERTIE
                                                 CLERK OF COURT

                                                 s/Tina Gray, Deputy Clerk

Approved by: s/J. Phil Gilbert
            J. PHIL GILBERT
            UNITED STATES DISTRICT JUDGE
